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                   EXHIBIT 1
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     8   Attorneys for Defendant
         APPLE INC.
    9
    10                                      UNITED STATES DISTRICT COURT

    11                                 NORTHERN DISTRICT OF CALIFORNIA

    12                                           SAN JOSE DIVISION

    13

    14   THE APPLE iPOD iTUNES ANTI-TRUST                       Lead Case No. C OS-00037 JW (HRL)
         LITIGATION.
    15                                                          [CLASS ACTION)
    16   This Document Relates To:

    17   ALL ACTIONS                                            DECLARATION OF DR. JOHN P. J.
                                                                KELLY IN SUPPORT OF
                                                                DEFENDANT'S RENEWED
    18                                                          MOTION FOR SUMMARY
                                                                JUDGMENT
    19

    20                                                          Date:      April 18, 2011
                                                                Time:      9:00 a.m.
    21                                                          Courtroom: 8, 4th Floor

    22                                                          DOCUMENT FILED UNDER SEAL
    23

    24
         I.      Introduction
    25
         I, Dr. John P. J. Kelly, declare as follows:
    26
                 l.      I have been retained by counsel for Apple Inc. ("Apple"), to provide assistance in
    27
         the above-captioned case. I am the principal of Kelly Computing, Inc. (d/b/a Kelly Technology
    28
                                                                                     Kelly Dec!. ISO Defendant's
         Confidential Attorneys Eyes Only                                   Renewed Motion for Summary Judgment
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     Group), 830 Park Lane, Santa Barbara, CA 93108.

2           A.       BACKGROUND

3           2.       I have a Bachelor of Arts degree and a Master of Arts degree with honors, both in

4    Mathematics, from the University of Cambridge, England. I have a Ph.D. in Computer Science

5    from the University of California, Los Angeles. I was a professor for 15 years, combined, in the

6    Computer Science Department at the University of California, Los Angeles and the Electrical and

7    Computer Engineering Department at the University of California, S~nta Barbara, where I held

8    tenure. Attached hereto as Exhibit A is a true and correct copy of my Curriculum Vitae

9    describing my background and experience.

10           3.      I teach and consult in many different aspects of computer science and engineering,

ll   including computer hardware and software architecture and design, software engineering and

12   fault tolerance. My particular areas of expertise include computer architecture, software

13   engineering and "clean-room" development and evaluation, reverse engineering, operating

14   systems (including real-time and embedded), network computing (including Internet computing),

15   storage systems, fault tolerance, parallel and distributed computing systems, transaction

16   processing systems, database systems, and program management.

17           4.      As a result of my education and professional experience, I have extensive

18   knowledge of computer operating systems, networking technologies, communication protocols

19   including network communication protocols, user interfaces including graphical user interfaces

20   and computer hardware design.

21           5.      I have worked in the area of computer software, hardware and system design and

22   development for over thirty years. I have extensive experience in the design and development of

23   small and large scale software systems. I have been involved in the specification, development,

24   integration and testing of computer systems with a wide range of requirements, sizes and types.

25   These have included, by way of example, custom hardware and software for a US Air Force

26   fighter plane, a distributed real-time system for US FAA air traffic control, and a distributed

27   geographical infonnation system for the US Department of Energy. I also have experience with

28   digital rights management systems such as those employed by DVD and Blu-ray; access control
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     systems that employ encryption or other types of shared secrets; tile protection methods that

2    employ encryption, encoding or obfuscation; tinancial transactions such as those over ATM

3    networks; techniques for securing network communications such as web traffic between a

4    customer and online store and communications over a VPN; methods of protecting executable

5    programs and tirmware using encryption; and techniques for encoding data using bar codes and

6    magnetic stripes such as in a driver's license. I also have experience with the generation,

7    distribution and management of encryption keys using a public key infrastructure (PKI) and other

8    techniques.

9            6.      From 1978 to 1995, I specified, designed and implemented distributed database

l0   architectures, systems and applications for Los Alamos National Laboratory and NASA's Jet

11   Propulsion Laboratory, and database machine design and implementation at Transaction

12   Technology Incorporated, Ordain, Inc. and Teradata.

13           7.       From 1985 to 1998, I consulted for AT&T GIS, NCR, Symbios Logic, and LSI

14   Logic including working as a member of the AT&T GIS Science Advisory Committee ("SAC").

15   The SAC evaluated AT&T's organization, technical direction and product strategy and made

16   recommendations to the Vice President ofTechnology and Development.

17           8.      ASSIGNMENT

18           8.      Counsel for Apple asked me to examine the changes made to Apple's FairPlay

19   DRM technology in iTunes 4.7 and analyze (i) whether those changes made FairPlay less

20   susceptible to attack, (ii) why they blocked RealNetworks' Harmony technology, (iii) the risks

21   that third-party applications like Harmony created for the proper operation of the iPod, and (iv)

22   what it would entail for Apple to ensure that RealNetworks' Harmony technology would continue

23   to work in .light of the changes to FairPlay included in iTunes 4.7.

24           9.       I considered the following materials in preparing this declaration:

25                   a.       Source code and change logs for FairPlay included in iTunes 4.5.0, 4.6.0,

26                            and4.7.0;

27                   b.       Technical descriptions of FairPlay before and after iTunes 4. 7;

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                                                                                  Kelly Decl. ISO Defendant's
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                         c.       Declaration of Jeffrey Robbin in Support of Defendant's Motion to

2                                 Dismiss or in The Alternative Motion For Summary Judgment dated

3                                 February 11, 201 0;

4                        d.       Declaration ofJetTrey Robbin in Support of Defendant's Renewed Motion

5                                 For Summary Judgment ("Robbin Decl.");

6                        e.       Declaration of Augustin Farrugia in Support of Defendant's Renewed

7                                 Motion For Summary Judgment ("Farrugia Decl.");

8                        f.       Deposition Of Jeffrey L. Robbin On Behalf Of Apple, Inc., December 3,

9                                 20 10; Deposition Of David K. Heller On Behalf Of Apple, Inc., December

10                                15, 2010; Deposition Of Augustin J. Farrugia On Behalf Of Apple, Inc.,

11                                December 8, 20 l 0;

12                       g.       Documents produced by Apple in this case; and

13                       h.       Publicly available documents.

14   II.        Overview of FairPlay
15              10.      Apple's iTunes Store ("iTS") offers customers the ability to purchase music,

16   videos, and other content over the fntemet. 1 Customers access iTS through Apple's iTunes

17   Software application, a free "jukebox" application that organizes and plays digital music stored

18   on the local computer. Among other things, the iTunes Software allows users to import music

19   stored on COs and other sources into their music collection. 2 The iTunes Software organizes

20   music in a library on the computer's hard drive that can be viewed and searched in multiple ways.

21   For example, music can be viewed by reference to various categories, such as the song or artist

22   name. 3 Users can also use the iTunes Software to transfer digital music to iPods. The iTunes

23   Software saves the music to the iPod's internal storage and writes a database that organizes that

24   music.

25   1
         See, e.g., http://www.apple.com/ituneslwhats-onl; http://www.apple.com/ituneslfeaturesl.
     2
26       See, e.g., http://www.apple.com/ituneslwhat-is/player.html.
     3
27    I have used the iTunes Software to purchase content from iTS, import music from COs, manage music, and transfer
     music to an iPod and other Apple devices. I have used every major release of iTunes from version 1 to the current
28   vers10n.

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                11.     Apple protected the music otfered on iTS with its proprietary digital rights

2    management (DRM) technology called FairPiay. 4 FairPlay used encryption and other tools to

3    t!nforce certain usage rules, including restricting access to the keys necessary to play music

4    purchased from iTS on a customer's computer. Encryption refers to the process of altering the

5    song so that only someone with the right "key" can decrypt the song and thus convert it to its

6    original, unencrypted fonn for playback. 5

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         In 2007, EMI pennitted Apple to distribute its music without DRM. See, e.g., Robbin Decl. at footnote 2.
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      Specifically, encryption uses a mathematical process (called a cipher) to scramble the infonnation that is to be
23   protected (called the "plaintext"). Once the data has been encrypted, it is unintelligible except to the person (or
     computer) who also has access to a special piece of infonnation (called the "key"). The key is necessary to
24   unscramble the encrypted data and recover the plaintext Encryption can be used to scramble actual text (such as a
     secret military communication), digital music files or any other kind of data. The process of unscrambling encrypted
25   data (text or other data) is called decryption
     6
         See, e.g., Apple_AIIA_B_000096.
26   1
         See, e.g., Apple_AIIA_B_000096.
27   8
         See, e.g., Apple_AIIA_B_Ol5553.
     9
28       See, e.g., Apple_AliA_B_ 000096; see also Robbin Dec I flll7 and Exs. 4 and 5 thereto.

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10   Ill. Improvements to FairPlay in iTunes 4.7.0
11           A.       FAIRPLAY IN ITUNES 4.5.0 AND 4.6.0

12           17.      I examined the source code and other technical descriptions of FairPlay included

13   in iTunes 4.5.0 and 4.6.0.

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       See, e.g., Source Code, Image File Additiona1Code_20101220.dmg,
26   iTunes/4. 7.0/MPEG/Sources/iPod/MusicStore.cp; see also Robbin Dec1 ,, 10-16 and Exhibits thereto; Exhibit 29 to
     Deposition of David Heller.
27   11
        See, e.g., Dep. Tr. of David Heller on December 15, 2010 at 36:23-38:2, 77:16-79: I, 80:18-81: I; Robbin Dec! 1M(
28   I 0-16 and Exhibits thereto.

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    10                                                                          If a hacker were able to crack the
    11   keybag, he would get access to all of the account keys and could then use those keys to strip

    12   FairPlay from all ofthe customer's iTS music.

    13              21.       I understand that several hacks, including DeDRMS, PlayFair and Hymn,

    14   exploited these vulnerabilities. Each evidently broke the encryption on the keybag and retrieved

    15   the account keys to strip the content protection. 13 According to Hymn's authors, they had cracked
                                                   14
    16   both the local and iPod keybags.

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            As I have used the tenn here, a transfonnation is sequence of mathematical operations perfonned on data. The
    26   transfonnation is reversible if the original data can be recovered using a second transfonnation which is the inverse
         of the tirst transfonnation.
         13
    27        See, e.g., Robbin Decl. at f!124-25, 30-33 and exhibits.
    28   14
              See, e.g., Apple_AIIAOOII3141-51; Robbin Decl ~ 31 and exhibits.
                                                                                                 Kelly Decl. ISO Defendant's
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     Figure l. Overview of the structure of the 4.5.0/4.6.0 local keybag. There is one User
17   Account Record per iTunes user account. There may be multiple account keys per user
     account. [See, e.g., source code computer, image file Additiona1Code_20101220.dmg, files
18   "iTunes FairPlay/iTunes FP 4.5.0/Keybag.c" and "iTunes FairPiay/iTunes FP
     4.5.0/Keybag.h. ")
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14   Figure 2. Overview of the sequence of steps used to encrypt (above dashed line from left to
     right) or decrypt (below dashed line from right to left) the 4.5.0/4.6.0 key bag. The
15   unadorned boxes represent data. The boxes with vertical bars on left and right sides
     represent a data processing step. [See, e.g., source code computer, image fde
16   Additiona1Code_20101220.dmg, fdes "iTunes FairPiay/iTunes FP 4.5.0/Keybag.c" and
     "iTunes FairPiay/iTunes FP 4.5.0/Keybag.h."J
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18           B.      ITUNES 4. 7.0

19           22.     The iTunes 4. 7.0 Software included a number of significant changes that improved
20   FairPlay, making it more difficult for hacks like Hymn to crack the local and iPod keybags.
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     right) or decrypt (below dashed line from right to left) the 4.7.0 local keybag. The
15   unadorned boxes represent data. The boxes with vertical bars on left and right sides
     represent a data processing step. (See, e.g., Apple_AIIA_8_000022;
16   Apple_AIIA_B_015564-597; Apple_AIIA_B_015626-632.)

17           24.     This change to the local keybag was an improvement to FairPlay because it
18   stopped the then current hacks that relied on knowledge of the local keybag encryption. In
19   addition, it made the local keybag (and the account keys within) less susceptible to attacks by
20   adding complexity that would make it harder to reverse engineer. Comparing Figure 3 to Figure
21   2 shows the number of additional steps a hacker would have had to reverse engineer to obtain the
22   account keys.
23           25.     Apple also adopted a new format and encryption scheme for the iPod keybag,
24   which was referred to as the "embedded keybag."
25

26           26.     The following is a description of the new embedded key bag.
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15   Figure 4. Overview of the structure of the 4. 7.0 embedded key bag. There will be one User
     Account Record for each iTunes user account. There may be multiple account keys per
16   user account. (See, e.g., Apple_AIIA_B_Ol5707-709.)
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23   Figure S. Overview of the decryption of a FairPlay protected song for playback on an iPod.
     The unadorned boxes represent data. The boxes with vertical bars on left and right sides
24   represent a data processing step. [See, e.g., Apple_AIIA_B_000029-30;
     Apple_AliA_B_ 000096.)
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26           30.

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     8           31.   . Based on my review of the source code for FairPlay, work on the changes to the

     9   source code itself for the embedded keybag began at least as early as June 17, 2004. Many of the

    10   source code tiles contain comments at the beginning of the tile that describe changes to that file

    11   (the "change log"). Each entry in this change log contains a revision number, the date that the

    12   change was entered into the log, the person who entered the change, and a comment describing

    13   the change. As noted, the change log reflected when the change to the source code was entered,

    14   not when the work was actually started. The following figures show some change log entries that

    15   mention work on the embedded keybag included in iTunes 4.7.

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18   IV. Harmony
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             32.      Hannony is what RealNetworks has described as a Digital Rights Management
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     translation system.
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22           "Using the new Hannony Technology within RealPlayer 10.5, the fonnat of your
             music no longer matters. RealPlayer 10.5 will convert your files to a fonnat
23           supported by your device automatically translating the DRM to one supported by
             your device at the same time." [RealPlayer 10.5 help file]
24           In essence, Hannony attempted to make songs protected by RealNetworks' DRM falsely
25   appear to the iPod like they were files protected by FairPlay DRM. For Harmony to accomplish
26   this, it would have had to mimic the way FairPlay protected music. Among other things, it would
27   have had to (i) create a keybag in the fonnat recognized and understood by the iPod and (ii) store
28   in the keybag the decryption keys necessary to unlock the music transferred to the iPod by
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         Real Player. Therefore, Harmony had to know the format of the iPod key bag, how the keys were

    2    protected, and how to associate decryption keys with specific songs.

    3                          33.     Harmony was included as a part of the RealPlayer jukebox application. Users

    4    could use RealPlayer to transfer music, including RealNetworks' DRM-protected music, to iPods.

    5    [See Figure 10.] I have used RealPlayer 10.5 (with Harmony) to transfer songs to an iPod. When

    6    RealPlayer transfers music to an iPod, it modifies the internal iPod database:

    7    iPod_ ControViTunes/iTunesDB. In addition, RealPiayer creates a new directory on the iPod

    8    (iPod_ControVMusic/mdb) and stores several files therein. [See Table l.]

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    25                                                      on               • An iPod is "u••u'"'"~'"'u
         to the computer and the iPod's contents are shown in the right hand pane under the caption
    26   "All Music On Device (JOHN KELLY')." The one song on the iPod was copied by iTunes
         4.6.0. The music in the RealPlayer library is shown in the left hand pane under the caption
    27   "My Library." Clicking the "Synchronize Device" button in the My Library pane causes
         RealPlayer to copy the songs in the RealPlayer library onto the iPod.
    28
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 2   Table 1. Files added to the iPod's internal storage by RealPiayer 10.5 (with Harmony)
     during synchronization of a single song from the ReaiPiayer music library to the iPod.
 3
     iPod ControVMusic/1'02/04 Sonata in a Major K 322 .mp3
 4   iPod ControVMusic/mdb/26.dat
     iPod ControVMusic/mdb/Backuo/000/000002.tmd
 5   iPod ControVMusic/mdb/cd.cdx
     iPod ControVMusic/mdb/cd.dbf
 6   iPod ControVMusic/mdb/cdtrax.cdx
 7   i Pod ControVMusic/mdb/cdtrax.dbf
     iPod ControVMusic/mdb/dbdata.txt
 8   iPod ControVMusic/mdb/Qlav~ros.cdx
     iPod ControVMusic/mdb/playgrps.dbf
 9   iPod ControVMusic/mdb/plavlist.cdx
     iPod ControVMusic/mdb/playlist.dbf
10   i Pod ControVMusic/mdb/plavlist. fpt
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11   iPod ControVMusic/mdb/playtrax.dbf
     iPod ControVMusic/mdb/orooertv.map
12   iPod ControVMusic/mdb/tracks.dbf
     iPod ControVMusic/mdb/tracks. fot
13   iPod ControVMusic/mdb/tracks2.cdx
     iPod ControVMusic/mdb/trakinfo.cdx
14    iPod ControVMusic/mdb/trakinfo.dbf
      iPod ControVMusic/mdb/version
15

16           34.     The changes to the format and encryption of the iPod keybag in iTunes 4.7.0

17   would have prevented Harmony from operating on iPods that had the new embedded keybag.

18   This is because Harmony would not write a keybag that would be recognized and understood by

19   these iPods. Among other things, Harmony would not write user and key data in the correct

20   format using the atom structure; would not encrypt each account key; would not have or use a

21   session key and session ID for each account key; would not encrypt the session key using RSA

22   encryption; and would not encrypt the account key using the session key. Instead, Harmony

23   would continue to write an older style keybag that was no longer used by iPods with the

24   embedded keybag.

25           35.     In short, Harmony would have no longer worked because it was based on an

26   earlier kyebag format and encryption scheme that was no longer used by FairPlay.

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                  A.      APPLE AND REALNETWORKS WOULD HAVE HAD To WORK

      2   TOGETHER

      3           36.     For Harmony to continue to play music on iPods (assuming that it could do so in

      4   the tirst place) atler updates to FairPlay would have required close cooperation between Apple

      5   and RealNetworks. Because Harmony essentially mimicked FairPlay, any changes to FairPlay

      6   could have prevented Harmony from working correctly.

      7           37.     Moreover, Harmony and other third-party applications that transferred content into

      8   the iPod presented a significant risk to the proper functioning of the iPod. Whatever means

      9   RealNetworks used to figure out how to write the iPod internal database and to try to convert its

     10   DRM music to look like FairPlay-protected music, whether through reverse engineering or

     11   otherwise, RealNetworks did not have perfect knowledge regarding how FairPlay worked. If

     12   Harmony wrote the keybag incorrectly, the iPod may not have been able to play some or all

     13   music because the iPod would have been unable to locate the correct keys to decrypt the music.

     14   If RealPlayer wrote the iPod internal database incorrectly, the iPod may not have been able to

     15   locate some or all songs in its database.

     16           38.      I understand that Apple received multiple complaints from its customers that

     17   RealPlayer and other jukebox applications that attempted to transfer content onto iPods corrupted

     18   those iPods. 16 Among other things, customers complained that their iPods skipped or did not play

     19   songs. In the case of RealPlayer, this corruption likely occurred because RealPlayer modified the

     20   iPod internal database and added foreign files, interfering with the operation of the iPod. Because

     21   RealNetworks did not have access to source code or other technical descriptions of the iPod

     22   database, its sotlware would have been more likely to contain bugs or features that corrupted files

     23   on the iPod or otherwise interfered with the operation of the iPod.

     24           39.     To illustrate this, I conducted the following experiment to analyze the effect of a

     25   third-party modifying the internal database. I ( 1) added two songs to an iPod; (2) verified that the

     26   iPod plays both songs; (3) added a third song to the iPod [see Figure 11]; (4) changed a single

     27   16
            See, e.g., Apple_AIIA_C_00205226, 5250,5300,5310,5328,5398,5437,5443,5474,5481,5488,5493,5494,
     28   5537,5538,5614,5677,5712,5720.

                                                                                      Kelly Decl. ISO Defendant's
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     byte of the information added when the third song was transferred to the iPod in order to simulate

2    a bug in the program that transferred the third song to the iPod; (5) attempted to play the songs

3    on the iPod. When I changed a single byte in iTunesDB from 'm' to 'M' the iPod will not see any

4    of the three songs and iTunes intonns the user that an error has occurred that can only be
5    corrected by res.toring the iPod to factory settings [see Figure 12]. Theretore, incorrectly

6    modifying as little as a single byte in iTunesDB can prevent the iPod from seeing any songs

7    including songs transferred before the error was introduced. Although not every error may cause
8    such immediate and dramatic results, the database structure is very sensitive and all errors have

9    the potential to prevent the iPod from functioning as intended and expected.

lO

11

12

13

14
                                                  3:09 .loMW....
15                                                4:31 .loMW-


           'I!J90's-
16         .. fiiVTopRabld
           18 Recent!\~ Played
17         i Top Z5 Most Played
         ;jJ90's-
         tl M1r Top Rated
18       i Recent!\~ Played
         4 Top Z5 Most Ployed
19

20

21

22

23
24

25                                                   contents
     three songs. This is before iTunesDB was modified to simulate a bug in the transfer of the
26   third song, Sevilla.

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28
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 2                                   1Tunes cannot read the contents of the Pod ~JOHN KELly-',
                                     Use the !Pod Software Updatet:·application to restore the !Pod to
 3                                 " lactol}l $etMga.

 4

 5    Figure 12. Screen shot of the error message shown by iTunes 4.6 when attempting to read
      the iPod after iTunesDB was modified to simulate a bug in the transfer of the third song.
 6
 7
              40.     To avoid blocking Hannony and at the same time ensuring the intended operation
 8
      of the iPod, Apple would have had to share contidential infonnation (including specitications,
 9
      design infonnation, and perhaps source code) with RealNetworks prior to updating products
10
      containing FairPlay. Apple also would have had to perfonn testing to ensure that changes to
 11
      iTunes Software, FairPlay or the iPod worked in the presence or absence of Harmony and that
 12
      Harmony worked with the changes. There would likely be limits to the changes that Apple could
 13
      make to address hackers and also limits on new product features since all changes would have to
 14
      be compatible with Hannony.
 15
              I declare under penalty of perjury under the laws of the United States of America that the
 16
      foregoing is true and correct.
 17
 18
              Executed this l81h day of January 20 11 in Santa
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                                                                                                Kelly Dec!. ISO Defendant's
      Confidential Attorneys Eyes Only                                                 Renewed Motion for Summary Judgment
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